Case 2:05-CV-02226-SHI\/|-tmp Document 5 Filed 06/23/05 Page 1 of 2 Pa e|D 4

uNITED sTATEs n:cs'rRIc'r coURT F*‘~&‘¥) if ~- ~- ~~"C'
wEsTERN DIsTR:cc'r oF TENNESSEE
wEsTERN nIvIsIoN 95 JUN 23 PH J~ Lw
soa§m 11 01 '; \':.-f 10
cL_E 1:1'-';~< 133 31“1\,1
W.D O{F ?N, g\li&l\m"' HlS
PHILLIP R. wALLS,
Plaintiff,
va Cv¢ Nol 05-2226-Ma

JO ANNE B. BARNI'IART,
Commissioner of Social Security,

Defendant.

J'UDGMENT

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

IT IS ORDERED AND ADJUDGED that, in accordance with the Order

docketed June 15, 2005, this action is remanded to the
Commissioner.

APPROV'ED ZA (/ h

SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DIS'I'RICT JUDGE

 

'F“~“~'- 111 ""“°! 'rHoMAs M. eouLD
DATE CLERK

 

 

 

(By) DEPUTY cLERK

Thfs document entered on the docketsheeti corpp!iance
with Hu£e 58 and/or 79(3) FRCF’ on fig gilsz

 

 

uNlTsED`ATEs DISTRICT C URT WESTERNDT"ISRIC oF TNNESSEE

thice of Distribution

This notice confirms a copy cf the document docketed as number 5 in
case 2:05-CV-02226 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

Lester T. Wener
MCWHORTER & WENER
100 N. Main Street

Ste. 1234

Memphis7 TN 38103

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honcrable Samuel Mays
US DISTRICT COURT

